4/18/2019     Case 19-01234-KCF                                 eCourts Civil Case
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                                               Case Caption: Saul Kathleen Vs Brenntag North America Inc
     Court: Civil Part                                  Venue: Middlesex                                   Case Initiation Date: 02/07/2018
     Case Type: Asbestos                                Case Status: Active                                Jury Demand: 6 Jurors
     Case Track: 4                                      Judge: Ana C Viscomi                               Team: 5
     # of Discovery Days: 450                           Age of Case: 01 YR 02 MO                           Consolidated Case: N
     Original Discovery End Date: 05/16/2019            Current Discovery End Date: 05/16/2019             # of DED Extensions: 0
     Original Arbitration Date:                         Current Arbitration Date:                          # of Arb Adjournments: 0
     Original Trial Date:                               Current Trial Date:                                # of Trial Date Adjournments: 0
     Disposition Date:                                  Case Disposition: Open                             Statewide Lien: No

     Plaintiffs (2)        Defendants (11)             Case Proceedings (23)               ACMS Documents (65)                  Fees (65)

                       Doc           Document                                        Doc               Date   Svc Party
      Date Filed                                   Filing Party                            CO/ID Type
                      Number           Type                                         Status            Served Status Svd
                                   COMP JRY
      02/07/2018 001                            SAUL
                                   DEMAND
                                   ANS          COLGATE
      02/20/2018 002
                                   CROSS&JRYD PALMOLIVE CO
                                   ORDR
      02/22/2018 003                            SAUL                               GR
                                   DISCOVERY
                                   ANS          BRENNTAG
      02/22/2018 004
                                   CROSS&JRYD SPECIALTIES
                                   ANS          CYPRUS AMAX
      02/23/2018 005
                                   CROSS&JRYD MINERALS
                                   ANS          IMERYS TALC
      02/23/2018 006
                                   CROSS&JRYD AMERICA
                                   MTN AD PR HC
      03/05/2018 007                            SAUL                               GR
                                   VC
      03/05/2018 008               CERTIFICTN   SAUL
                                   ORD AD PR HC
      03/12/2018 009                            SAUL                               GR
                                   VC
                                   ANS          BRISTOL MYERS
      03/20/2018 010
                                   CROSS&JRYD SQUIBB
                                   NOTC         BRISTOL MYERS
      03/20/2018 011
                                   APPEARANCE SQUIBB
                                   MOTN DISM    YVES SAINT
      03/23/2018 012                                                               GR
                                   COMPL        LAURENT
                                   MTN AD PR HC
      04/02/2018 013                            SAUL                               GR
                                   VC
                                   MTN AD PR HC
      04/02/2018 014                            SAUL                               GR
                                   VC
                                   MTN AD PR HC
      04/02/2018 015                            SAUL                               GR
                                   VC
                                   MTN AD PR HC
      04/02/2018 016                            SAUL                               GR
                                   VC
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                      Number           Type                                        Status                Served Status   Svd
                                   MTN AD PR HC
      04/02/2018 017                             SAUL                              GR
                                   VC
                                   ANS           WHITTAKER
      04/11/2018 018
                                   CROSS&JRYD CLARK & DA
                                   ORDR DISM     YVES SAINT
      04/13/2018 019                                                               GR
                                   CMPL          LAURENT
                                   MISC OTHR
      04/23/2018 020                             SAUL
                                   AFFID
                                   ORD AD PR HC
      04/27/2018 021                             SAUL                              GR
                                   VC
                                   ORD AD PR HC
      04/27/2018 022                             SAUL                              GR
                                   VC
                                   ORD AD PR HC
      04/27/2018 023                             SAUL                              GR
                                   VC
                                   ORD AD PR HC
      04/27/2018 024                             SAUL                              GR
                                   VC
                                   ORD AD PR HC
      04/27/2018 025                             SAUL                              GR
                                   VC
                                   MISC OTHR
      05/08/2018 026                             SAUL
                                   AFFID
                                   MISC OTHR
      05/08/2018 027                             SAUL
                                   AFFID
                                   MISC OTHR
      05/08/2018 028                             SAUL
                                   AFFID
                                   MISC OTHR
      05/08/2018 029                             SAUL
                                   AFFID
                                   MISC OTHR
      05/08/2018 030                             SAUL
                                   AFFID
                                   MOTN DISM     CYPRUS AMAX
      05/15/2018 031                                                               DN
                                   COMPL         MINERALS
                                   MOTN DISM     IMERYS TALC
      05/15/2018 032                                                               DN
                                   COMPL         AMERICA
      05/18/2018 033               AFFID DEL INQ SAUL
                                   OBJECT
      05/31/2018 034                             SAUL
                                   MOTION
                                                 CYPRUS AMAX
      06/04/2018 035               MISC BRIEF
                                                 MINERALS
                                   ORDR DISM     IMERYS TALC
      06/08/2018 036                                                               DN
                                   CMPL          AMERICA
                                   ORDR DISM     CYPRUS AMAX
      06/08/2018 037                                                               DN
                                   CMPL          MINERALS
                                   ANS
      06/08/2018 038                             REVLON INC
                                   CROSS&JRYD
      06/08/2018 039               PRF MAIL      REVLON INC
                                   NOTC
      06/08/2018 040                             REVLON INC
                                   APPEARANCE
                                   CAS MANG
      06/15/2018 041                             COURT INIT                        GR
                                   ORD
                                   MOTN          CYPRUS AMAX
      06/28/2018 042                                                               WD
                                   RECONSIDER MINERALS
                                   MOTN          IMERYS TALC
      06/28/2018 043                                                               WD
                                   RECONSIDER AMERICA
                                   MISC SUB      WHITTAKER
      07/16/2018 044
                                   ATTY          CLARK & DA


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                      Number           Type                                        Status                  Served Status   Svd
                                   ANS JRY             JOHNSON &
      07/18/2018 045
                                   DEMAND              JOHNSON
                                   ANS JRY             JOHNSON &
      07/18/2018 046
                                   DEMAND              JHNSN CO
                                   NOTC                JOHNSON &
      07/30/2018 047
                                   APPEARANCE          JOHNSON
                                   OBJECT
      08/09/2018 048                                   SAUL
                                   MOTION
                                   PART STIP           COLGATE
      10/11/2018 049
                                   DISM                PALMOLIVE CO
                                   PART STIP           BRENNTAG
      10/17/2018 051
                                   DISM                SPECIALTIES
                                   CERT OF             BRENNTAG
      10/17/2018 052
                                   PROOF               SPECIALTIES
                                   PART STIP
      10/19/2018 050                                   BRENNTAG NA INC
                                   DISM
                                   ORDR                COLGATE
      10/25/2018 053                                                               GR
                                   DISMISSAL           PALMOLIVE CO
                                                       BRENNTAG
      11/13/2018 055               ORDR MISC                                       GR
                                                       SPECIALTIES
                                   ORDR
      11/14/2018 054                                   BRENNTAG NA INC GR
                                   DISMISSAL
                                   CAS MANG
      12/13/2018 057                                   COURT INIT                  GR
                                   ORD
                                   MISC SUB            JOHNSON &
      12/19/2018 056
                                   ATTY                JOHNSON
                                   MOT PRT SUM         JOHNSON &
      02/01/2019 058                                                               PH
                                   JDG                 JOHNSON
                                   MOT PRT SUM         JOHNSON &
      02/01/2019 059                                                               PH
                                   JDG                 JHNSN CO
                                   MOT PRT SUM         WHITTAKER
      02/01/2019 060                                                               PH
                                   JDG                 CLARK & DA
                                   OBJECT
      02/19/2019 061                                   SAUL
                                   MOTION
                                   NOTC                IMERYS TALC
      02/25/2019 062
                                   BANKRUPCY           AMERICA
                                   MOT PRT SUM         CYPRUS AMAX
      03/01/2019 063                                                               GR
                                   JDG                 MINERALS
                                   ORD PAR SUM         CYPRUS AMAX
      03/29/2019 064                                                               GR
                                   JUD                 MINERALS
                                   MOTN
      04/01/2019 065                                   SAUL                        PH
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